STRASBURG STEAM FLOURING MILLS, PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.Strasburg Steam Flouring Mills v. CommissionerDocket Nos. 8160, 9648.United States Board of Tax Appeals16 B.T.A. 266; 1929 BTA LEXIS 2611; April 29, 1929, Promulgated *2611 Held that collection of the additional taxes for the fiscal year ended in 1919 is not barred by the statute of limitations.  F. W. McReynolds, Esq., for the petitioner.  Maxwell E. McDowell, Esq., for the respondent.  ARUNDELL*266  These proceedings, which were consolidated for hearing and decision, involved deficiencies in income and excess-profits taxes for the fiscal years ended June 30, 1919, 1920, and 1921, in the respective amounts of $847.35, $1,011.01, and $694.98.  The only issue raised in the proceedings not abandoned or disposed of at the hearing by stipulation is whether collection of the deficiency determined for the fiscal year ended in 1919 is barred by the statute of limitations.  FINDINGS OF FACT.  The petitioner, a Virginia corporation, filed its return for the fiscal year ended June 30, 1919, on March 15, 1920.  *267  On December 1, 1924, and January 12, 1925, the petitioner executed and a short time thereafter filed with the respondent, who subsequently signed them, instruments reading as follows: DECEMBER 1, 1924.  INCOME AND PROFITS TAX WAIVER In pursuance of the provisions of existing Internal Revenue*2612  Laws, Strasburg Steam Flouring Mills, a taxpayer, of Strasburg, Virginia, and the Commissioner of Internal Revenue, hereby consent to extend the period prescribed by law for a determination, assessment, and collection of the amount of income, excess-profits, or war-profits taxes due under any return made by or on behalf of said taxpayer for the year ended June 30, 1919, under the Revenue Act of 1924, or under prior income, excess-profits, or war-profits tax Acts; or under Section 38 of the Act entitled "An Act to provide revenue, equalize duties, and encourage the industries of the United States, and for other purposes", approved August 5, 1909.  This waiver is in effect from the date it is signed by the taxpayer and will remain in effect for a period of one year after the expiration of the statutory period of limitation within which assessments of taxes may be made for the year or years mentioned, or the statutory period of limitations as extended by Section 277(b) of the Revenue Act of 1924, or by any waivers already on file with the Bureau.  STRASBURG STEAM FLG. MILLS, Taxpayer.By C. D. SMITH, Tres.D. H. BLAIR, Commissioner.JANUARY 12, 1925.  INCOME*2613  AND PROFITS TAX WAIVER (For taxable years ended prior to March 1, 1921) In pursuance of the provisions of existing Internal Revenue Laws, The Strasburg Steam Flouring Mills, a taxpayer of Strasburg, Virginia, and the Commissioner of Internal Revenue hereby waive the time prescribed by law for making any assessment of the amount of income, excess-profits, or war-profits taxes due under any return made by or on behalf of said taxpayer for the year 1919 under existing revenue acts, or under prior revenue acts.  This waiver of the time for making any assessment as aforesaid shall remain in effect until December 31, 1925, and shall then expire except that if a notice of a deficiancy in tax is sent to said taxpayer by registered mail before said date and (1) no appeal is filed therefrom with the United States Board of Tax Appeals then said date shall be extended sixty days, or (2) if an appeal is filed with said Board then said date shall be extended by the number of days between the date of mailing of said notice of deficiency and the date of final decision by said Board.  STRASBURG STEAM FLG. MILLS, By C. D. SMITH, Tres.D. H. BLAIR, Commissioner.*268  The*2614  deficiency letter for the fiscal year ended June 30, 1919, was mailed on August 19, 1925.  No part of the additional tax alleged to be due has been assessed.  The petition for the redetermination of said deficiency was filed with the Board on October 16, 1925.  OPINION.  ARUNDELL: At the hearing counsel for the respective parties stipulated that for the year ended June 30, 1920, the deficiency is $1,011.01 and that there is no deficiency for the fiscal year ended June 30, 1921.  The consent dated December 1, 1924, extended the statutory period for the assessment of taxes for the fiscal year ended June 30, 1919, to March 15, 1926, a date about six months after the deficiency notice was mailed.  Section 277(a)(2) and 278(c) of the Revenue Act of 1924.  Section 277(b) provides that where a petition is filed with the Board the time within which an assessment is required to be made shall be extended by the number of days between the date of the mailing of the deficiency notice and the date of the final decision of the Board.  See also section 277(b) of the Revenue Act of 1926.  Since assessment of the taxes is not barred, collection of the taxes may be made within six years after*2615  assessment.  Section 278(a) of the Revenue Act of 1926.  See ; . The deficiencies for the fiscal years ended in 1919 and 1920 are $847.35 and $1,011.01, respectively.  There is no deficiency for the year ended in 1921.